






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00656-CR






Fredell Lynch, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 147TH JUDICIAL DISTRICT


NO. 2021952, HONORABLE WILFORD FLOWERS, JUDGE PRESIDING






O R D E R


PER CURIAM

Appellant's second motion for extension of time to file brief is granted.  Appellant's
counsel, Mr. Ariel Payan, is ordered to tender a brief in this cause no later than June 16, 2003.  No
further extension of time will be granted.

It is ordered May 5, 2003. 


Before Chief Justice Law, Justices B. A. Smith and Puryear

Do Not Publish


